         Case 1:23-cr-00257-TSC Document 20 Filed 08/09/23 Page 1 of 2




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :    No. 23-cr-257-TSC
                                     :
v.                                   :
                                     :
DONALD J. TRUMP,                     :
                                     :
            Defendant.               :
____________________________________:

              NOTICE OF FILING CERTIFICATE OF GOOD STANDING
             IN SUPPORT OF MOTION FOR ADMISSION PRO HAC VICE

       In support of his Motion for Admission Pro Hac Vice (ECF No. 7, the “Motion”), Todd

Blanche, Esq. respectfully submits his Certificate of Good Standing dated August 8, 2023. This

Certificate is to replace the copy dated June 8, 2023 that accompanied the Motion. Pursuant to

Local Criminal Rule 44.1(c), Mr. Blanche’s Motion is now complete.



 Dated: August 9, 2023                            Respectfully submitted,


 Todd Blanche, Esq. (PHV Pending)                 /s/John F. Lauro
 toddblanche@blanchelaw.com                       John F. Lauro, Esq.
 BLANCHE LAW                                      D.C. Bar No. 392830
 99 Wall St., Suite 4460                          jlauro@laurosinger.com
 New York, NY 10005                               Filzah I. Pavalon, Esq. (PHV)
 (212) 716-1250                                   fpavalon@laurosinger.com
                                                  LAURO & SINGER
                                                  400 N. Tampa St., 15th Floor
                                                  Tampa, FL 33602
                                                  (813) 222-8990

                                                  Counsel for President Donald J. Trump




                                              1
      Case 1:23-cr-00257-TSC Document 20 Filed 08/09/23 Page 2 of 2




           Appellate Division of the Supreme Court
                     of the State of New York
                   Second Judicial Department


     I, Darrell M. Joseph, Acting Clerk of the Appellate Division
of the Supreme Court of the State of New York, Second Judicial
Department, do hereby certify that

                        Todd W. Blanche
was duly licensed and admitted to practice as an Attorney and
Counselor at Law in all the courts of this State on February 11,
2004, has duly taken and subscribed the oath of office prescribed
by law, has been enrolled in the Roll of Attorneys and Counselors
at Law on file in this office, is duly registered with the
Administration Office of the Courts, and according to the records
of this Court is currently in good standing as an Attorney and
Counselor-at-Law.



                             In Witness Whereof, I have hereunto set
                             my hand in the City of Brooklyn on
                             August 8, 2023.




                                  Acting Clerk of the Court


CertID-00131320
